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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case Number: 4:17−cr−00431

Stephen P Lynch



                               NOTICE OF RESETTING

TAKE NOTICE THAT THE PROCEEDING(S) IN THIS CASE HAVE BEEN
RESET FOR THE PLACE, DATE AND TIME SET FORTH BELOW.

Before the Honorable Nancy F Atlas
PLACE:
Courtroom 9F
United States District Court
515 Rusk Street
Houston, TX 77002

TYPE OF PROCEEDING:               Final Pretrial Conference
DATE:                             4/2/2018
TIME:                             12:30 PM

NOTE: ALL COUNSEL OF RECORD RECEIVING THE NOTICE ARE
ORDERED TO NOTIFY ALL OTHER COUNSEL IN THIS CASE OF THE
CONTENTS OF THIS NOTICE.

Date: March 23, 2018
                                                              David J. Bradley, Clerk
